            Case 4:19-cv-07123-PJH Document 60-1 Filed 04/29/20 Page 1 of 3




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10                               UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                          OAKLAND DIVISION
13
     WHATSAPP INC., a Delaware corporation,
                                          )          Civil Action No. 4:19-cv-07123-PJH
14   and FACEBOOK, INC., a Delaware corporation,
                                          )
                                          )
15        Plaintiffs,                     )
                                          )          DECLARATION OF EMMET P. ONG IN
16     v.                                 )          SUPPORT OF NON-PARTY UNITED
                                          )          STATES DEPARTMENT OF JUSTICE’S
17   NSO GROUP TECHNOLOGIES LIMITED and Q )          ADMINISTRATIVE MOTION TO FILE
     CYBER TECHNOLOGIES LIMITED,          )          UNDER SEAL
18                                        )
          Defendants.                     )
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     DECLARATION OF EMMET P. ONG ISO NON-PARTY DOJ’S ADMIN. MOTION TO FILE UNDER SEAL
     NO. 4:19-CV-07123-PJH
             Case 4:19-cv-07123-PJH Document 60-1 Filed 04/29/20 Page 2 of 3




 1 I, Emmet P. Ong, declare:

 2          1.      I am an Assistant United States Attorney in the United States Attorney’s Office for the

 3 Northern District of California. I submit this declaration in support of Non-Party United States

 4 Department of Justice’s (“DOJ”) Administrative Motion to File Under Seal, which is filed concurrently

 5 herewith. The matters in this declaration are based on my personal knowledge, information and belief,

 6 and my review of the case file in this matter, and I could testify competently if called upon to do so.

 7          2.      The document sought to be filed under seal, in its entirety, is the Declaration of a DOJ

 8 Attorney (the “DOJ Attorney Declaration”), which is filed concurrently herewith as Exhibit A to the

 9 DOJ’s Administrative Motion. The DOJ Attorney Declaration is being filed in connection with Plaintiff

10 WhatsApp Inc.’s (“WhatsApp”) pending Amended Administrative Motion to Seal Documents Related

11 to WhatsApp’s Motion to Disqualify Counsel (Dkt. No. 59).

12          3.      The DOJ Attorney Declaration discusses materials and information that were placed

13 under seal by another United States District Court in a different district and that remain under seal, as

14 well as proceedings in that sealed matter.

15          4.      There are compelling reasons for the DOJ Attorney Declaration to be filed under seal in

16 its entirety. As discussed more fully in the DOJ Attorney Declaration, the proceedings, materials, and

17 information discussed in the DOJ Attorney Declaration remain under seal by statute and court order. No

18 party has asserted any right of access to these materials or moved to unseal them.

19          5.      As discussed in more detail in the DOJ Attorney Declaration, these compelling reasons

20 are not outweighed by any public interest favoring disclosure. Nor does the public have a First

21 Amendment right to access declarations filed in support of a motion to seal, such as the DOJ Attorney

22 Declaration. United States v. Higuera-Guerrero (In re Copley Press, Inc.), 518 F.3d 1022, 1028 (9th

23 Cir. 2008).

24          6.      Because of the nature of the DOJ’s Administrative Motion and the sensitivity of the

25 sealed matters discussed in the DOJ Attorney Declaration, the DOJ did not seek a stipulation from the

26 parties to the action.

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     DECLARATION OF EMMET P. ONG ISO NON-PARTY DOJ’S ADMIN. MOTION TO FILE UNDER SEAL
     NO. 4:19-CV-07123-PJH                      1
             Case 4:19-cv-07123-PJH Document 60-1 Filed 04/29/20 Page 3 of 3




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 2 I declare under penalty of perjury that the foregoing is true and correct.

 3 Executed in Lafayette, California on April 29, 2020.

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 5                                                        /s/ Emmet P. Ong
                                                          EMMET P. ONG
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     DECLARATION OF EMMET P. ONG ISO NON-PARTY DOJ’S ADMIN. MOTION TO FILE UNDER SEAL
     NO. 4:19-CV-07123-PJH                      2
